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Counsel for Plaintiff

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

  LIANG YANG, Individually and on behalf of             Case No.
  all others similarly situated,
                                                        CLASS ACTION COMPLAINT FOR
          Plaintiff,                                    VIOLATION OF THE FEDERAL
                                                        SECURITIES LAWS
          v.
                                                        JURY TRIAL DEMANDED
  TRUST FOR ADVISED PORTFOLIOS,
  INFINITY Q CAPITAL MANAGEMENT,                        CLASS ACTION
  LLC, CHRISTOPHER E. KASHMERICK,
  JOHN C. CHRYSTAL, ALBERT J. DIULIO,
  S.J., HARRY E. RESIS, RUSSELL B. SIMON,
  LEONARD POTTER, and JAMES
  VELISSARIS,

          Defendants.


       Plaintiff Liang Yang (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants

(defined below), alleges the following based upon personal knowledge as to Plaintiff and

Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia, the

investigation conducted by and through Plaintiff’s attorneys, which included, among other things,

a review of the defendants’ public documents, and announcements made by defendants, United

States Securities and Exchange Commission (“SEC”) filings, wire and press releases published

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by and regarding Infinity Q Diversified Alpha Fund (the “Fund”), analysts’ reports and advisories,

and information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

         1.    This is a federal securities class action on behalf of all persons and entities who

purchased the Infinity Q Diversified Alpha Fund Investor Class shares (IQDAX) or Institutional

Class shares (IQDNX) between December 21, 2018 and February 22, 2021, both dates inclusive

(the “Class Period”). Plaintiff seeks to recover compensable damages caused by Defendants’

violations of the federal securities laws under the Securities Exchange Act of 1934 (the “Exchange

Act”).

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder by the SEC

(17 C.F.R. §240.10b-5).

         3.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and §27 of the Exchange Act.

         4.    Venue is proper in this judicial district pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered and subsequent

damages took place within this judicial district.

         5.    In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.



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                                            PARTIES

       6.       Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased the Fund’s securities during the Class Period and was economically damaged

thereby.

       7.       Defendant Trust for Advised Portfolios (“Trust”) is the registrant and issuer of the

Fund. The Trust is a Delaware statutory trust registered as an open-end, management investment

company with 18 series, including the Fund.

       8.       Defendant Infinity Q Capital Management, LLC (“Infinity Q”) is a registered

investment advisor that purports to provide hedge fund strategies to institutional and retail

investors. Infinity Q acts as investment advisor to the Fund pursuant to an Investment Advisory

Agreement. Infinity Q’s principal executive offices are located at 888 7th Avenue, Suite 3700,

New York, NY 10106.

       9.       Defendant Christopher E. Kashmerick (“Kashmerick”) served as the President,

Principal Executive Officer, and Trustee for the Trust. Kashmerick signed the Trust’s

prospectuses.

       10.      Defendant John C. Chrystal (“Chrystal”) served as a Trustee for the Trust. Chrystal

signed the Trust’s Prospectuses.

       11.      Defendant Albert J. DiUlio, S.J. (“DiUlio”) served as a Trustee for the Trust.

DiUlio signed the Trust’s Prospectuses.

       12.      Defendant Harry E. Resis (“Resis”) served as a Trustee for the Trust. Resis signed

the Trust’s Prospectuses.




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       13.     Defendant Russell B. Simon (“Simon”) served as a Treasurer and Principal

Financial Officer for the Trust. Simon signed the Trust’s Prospectuses.

       14.     Defendant Leonard Potter (“Potter”) is the Chief Executive Officer of Infinity Q.

       15.     Defendant James Velissaris (“Velissaris”) is the founder and Chief Investment

Officer of Infinity Q.

       16.     Defendants Kashmerick, Chrystal, DiUlio, Resis, Simon, Potter, and Velissaris

shall be collectively referred to as the “Individual Defendants.”

       17.     The Trust, Infinity Q, and the Individual Defendants are referred to herein,

collectively, as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS
                         Materially False and Misleading Statements

       18.     On December 21, 2018, the Trust filed a post-effective amendment to its

Registration Statement pursuant to Rule 485B on Form N-1A, to become effective December 31,

2018 (the “2019 Prospectus”). The 2019 Prospectus was signed by the Individual Defendants.

       19.     The 2019 Prospectus stated the following concerning Fund pricing, or Net Asset

Value (NAV) determination:

       Shares of the Fund are sold at NAV per share which is calculated as of the close
       of regular trading (generally, 4:00 p.m., Eastern Time) on each day that the New
       York Stock Exchange (“NYSE”) is open for unrestricted business. However, the
       Fund’s NAV may be calculated earlier if trading on the NYSE is restricted or as
       permitted by the SEC. The NYSE is closed on weekends and most national
       holidays, including New Year’s Day, Martin Luther King, Jr. Day, Washington’s
       Birthday/Presidents’ Day, Good Friday, Memorial Day, Independence Day,
       Labor Day, Thanksgiving Day and Christmas Day. The NAV will not be
       calculated on days when the NYSE is closed for trading.

       Purchase and redemption requests are priced based on the next NAV per share
       calculated after receipt of such requests. The NAV is the value of the Fund’s
       securities, cash and other assets, minus all expenses and liabilities (assets –
       liabilities = NAV). NAV per share is determined by dividing NAV by the number
       of shares outstanding (NAV/ # of shares = NAV per share). The NAV takes into

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     account the expenses and fees of the Fund, including management and
     administration fees, which are accrued daily.

     In calculating the NAV, portfolio securities are valued using current market
     values or official closing prices, if available. Each security owned by the Fund
     that is listed on a securities exchange is valued at its last sale price on that
     exchange on the date as of which assets are valued. Where the security is listed
     on more than one exchange, the Fund will use the price of the exchange that the
     Fund generally considers to be the principal exchange on which the security is
     traded.

     When reliable market quotations are not readily available or the Fund’s pricing
     service does not provide a valuation (or provides a valuation that in the judgment
     of the Adviser does not represent the security’s fair value) or when, in the
     judgment of the Adviser, events have rendered the market value unreliable, a
     security or other asset is valued at its fair value as determined under procedures
     approved by the Board. Valuing securities at fair value is intended to ensure that
     the Fund is accurately priced and involves reliance on judgment. Fair value
     determinations are made in good faith in accordance with the procedures adopted
     by the Board. The Board will regularly evaluate whether the Fund’s fair valuation
     pricing procedures continue to be appropriate in light of the specific
     circumstances of the Fund and the quality of prices obtained through their
     application by the Trust’s valuation committee. There can be no assurance that
     the Fund will obtain the fair value assigned to a security if it were to sell the
     security at approximately the time at which the Fund determines its NAV per
     share.

     Fair value pricing may be applied to non-U.S. securities. The trading hours for
     most non-U.S. securities end prior to the close of the NYSE, the time that the
     Fund’s NAV is calculated. The occurrence of certain events after the close of
     non-U.S. markets, but prior to the close of the NYSE (such as a significant surge
     or decline in the U.S. market) often will result in an adjustment to the trading
     prices of non-U.S. securities when non-U.S. markets open on the following
     business day. If such events occur, the Fund may value non-U.S. securities at fair
     value, taking into account such events, when it calculates its NAV. In such cases,
     use of fair valuation can reduce an investor’s ability to seek to profit by
     estimating the Fund’s NAV per share in advance of the time the NAV per share
     is calculated. The Adviser anticipates that the Fund’s portfolio holdings will be
     fair valued when market quotations for those holdings are considered unreliable.

     Other types of securities that the Fund may hold for which fair value pricing
     might be required include, but are not limited to: (a) investments which are not
     frequently traded and/or the market price of which the Adviser believes may be
     stale; (b) illiquid securities, including “restricted” securities and private
     placements for which there is no public market; (c) securities of an issuer that
     has entered into a restructuring; (d) securities whose trading has been halted or

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       suspended; and (e) fixed income securities that have gone into default and for
       which there is not a current market value quotation.

       20.    The 2019 Prospectus stated the following concerning valuation of securities that

did not have current market quotations:

       The Board has delegated day-to-day valuation matters to a Valuation Committee
       that is comprised of the Trust’s President, Treasurer and Assistant Treasurer and
       is overseen by the Trustees. The function of the Valuation Committee is to
       review each Adviser’s valuation of securities held by any series of the Trust for
       which current and reliable market quotations are not readily available. Such
       securities are valued at their respective fair values as determined in good faith by
       each Adviser, and the Valuation Committee gathers and reviews Fair Valuation
       Forms that are completed by an Adviser to support its determinations, and which
       are subsequently reviewed and ratified by the Board. The Valuation Committee
       meets as needed. The Valuation Committee met twelve times during the fiscal
       year ended August 31, 2019, with respect to the Fund.
       21.      The 2019 Prospectus explained that the Fund implemented its strategy by investing

in swaps:

       The Fund implements these strategies by investing globally (including in
       emerging markets) either directly in, or through total return swaps on a broad
       range of instruments, including, but not limited to, equities, bonds (including but
       not limited to high-yield or “junk” bonds), currencies, commodities, MLPs,
       credit derivatives, convertible securities, futures, forwards, options, including
       complex options such as barrier options. The Fund may also invest up to 25% of
       its assets in a subsidiary that is invested in these types of derivative instruments
       (the “Subsidiary”) as described further below. The Fund has no limits with
       respect to the credit rating, maturity or duration of the debt securities in which it
       may invest.


       22.    The 2019 Prospectus stated the following concerning valuation risk:

       Valuation Risk. The sales price the Fund could receive for any particular
       portfolio investment may differ from the Fund’s valuation of the investment,
       particularly for securities or other investments that trade in thin or volatile
       markets or that are valued using a fair value methodology. Investors who
       purchase or redeem Fund shares on days when t3he Fund is holding fair-valued
       securities may receive fewer or more shares or lower or higher redemption
       proceeds than they would have received if the Fund had not fair-valued securities
       or had used a different valuation methodology. Valuation may be more difficult
       in times of market turmoil since many investors and market makers may be
       reluctant to purchase complex instruments or quote prices for them. The Fund’s

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       ability to value its investments may be impacted by technological issues and/or
       errors by pricing services or other third party service providers.
       23.      The 2019 Prospectus reported that the Fund’s net asset value was $10.37 per

investor class share as of August 31, 2018, with a total return of 11.28% for the previous year

ended August 31, 2018, and $10.42 per institutional class share as of August 31, 2018, with a total

return of 11.52% for the previous year ended August 31, 2018.

       24.     On December 20, 2019, the Trust filed a post-effective amendment pursuant to Rule

485B to its Registration Statement on Form N-1A, to become effective December 31, 2019 (the

“2020 Prospectus”). The 2020 Prospectus was signed by the Individual Defendants.

       25.     The 2020 Prospectus echoed the 2019 Prospectus concerning NAV calculation,

valuation of securities, and swaps, as described in ¶¶19-22.

       26.     The 2020 Prospectus reported that the Fund’s net asset value was $11.54 per

investor class share as of August 31, 2019, with a total return of 3.48% for the previous year ended

August 31, 2019, and $11.62 per institutional class share as of August 31, 2019, with a total return

of 3.81% for the previous year ended August 31, 2019.

       27.     The statements referenced in ¶¶ 18-26 were materially false and/or misleading

because they misrepresented and failed to disclose the following adverse facts pertaining to the

Fund’s business, operational and financial results, which were known to Defendants or recklessly

disregarded by them. Specifically, Defendants made false and/or misleading statements and/or

failed to disclose that: (1) Infinity Q’s Chief Investment Officer made adjustments to certain

parameters within the third-party pricing model that affected the valuation of the swaps held by

the Fund; (2) consequently, Infinity Q would not be able to calculate NAV correctly; (3) as a result,

the previously reported NAVs were unreliable; (4) because of the foregoing, the Fund would halt




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redemptions and liquidate its assets; and (5) as a result, the Prospectuses were materially false

and/or misleading and failed to state information required to be stated therein.

                                        The Truth Emerges

       28.     On February 22, 2021, Infinity Q filed a request with the SEC for an order pursuant

to Section 22(e)(3) of the Investment Company Act of 1940 suspending the right of redemption

with respect to shares of the Fund, effective February 19, 2021, because of Infinity Q’s inability

to determine NAV. The request also stated that the Fund was liquidating its portfolio and

distributing its assets to shareholders. The request stated, in pertinent part:

       II. Relief Requested

       Applicants hereby request an order pursuant to Section 22(e) of the 1940 Act to
       suspend the right of redemption with respect to shares of the Fund effective
       February 19, 2021 and postpone the date of payment of redemption proceeds
       with respect to redemption orders received but not yet paid as of February 22,
       2021 for more than seven days after the tender of securities to the Fund, until the
       Fund completes the liquidation of its portfolio and distributes all its assets to
       current and former shareholders, as described in the conditions, or, if earlier, the
       Commission rescinds the order granted pursuant hereto. Applicants believe that
       the relief requested is appropriate for the protection of shareholders of the Fund.

       Section 22(e)(1) of the 1940 Act provides that a registered investment company
       may not suspend the right of redemption or postpone the date of payment or
       satisfaction upon redemption of any redeemable securities in accordance with its
       terms for more than seven days except for any period during which the New York
       Stock Exchange (“NYSE”) is closed other than customary week-end and holiday
       closing, or during trading on which the NYSE is restricted.

       Section 22(e)(3) of the 1940 Act provides that redemptions may also be
       suspended by a registered investment company for such other periods as the
       Commission may by order permit for the protection of security holders of the
       registered investment company. As such, only the Commission has the authority
       to suspend redemptions.

       III. Justification for the Relief Requested

       The circumstances leading to the request for relief arise from Infinity Q’s
       inability, as required under the Fund’s valuation procedures, to value certain
       Fund holdings and the Fund’s resulting inability to calculate net asset value

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     (“NAV”). As disclosed in the Fund’s statement of additional information, in
     calculating the Fund’s NAV, any Fund holdings for which current and reliable
     market quotations are not readily available “are valued at their respective fair
     values as determined in good faith by [the] Adviser” under procedures approved
     and overseen by the Board of Trustees of the Trust (the “Board”). The Fund’s
     current portfolio includes swap instruments (the “Swaps”) for which Infinity Q
     calculates fair value using models provided by a third-party pricing vendor. As
     of February 18, 2021, the Fund’s reported NAV was derived using a valuation
     for these Swaps that resulted in the value of the Swaps constituting
     approximately 18% of the Fund’s reported NAV.

     On February 18, 2021, based on information learned by the Commission staff
     and shared with Infinity Q, Infinity Q informed the Fund that Infinity Q’s Chief
     Investment Officer had been adjusting certain parameters within the third-party
     pricing model that affected the valuation of the Swaps. On February 19, 2021,
     Infinity Q informed the Fund that at such time it was unable to conclude that
     these adjustments were reasonable, and, further, that it was unable to verify that
     the values it had previously determined for the Swaps were reflective of fair
     value. Infinity Q also informed the Fund that it would not be able to calculate a
     fair value for any of the Swaps in sufficient time to calculate an accurate NAV
     for at least several days. Infinity Q and the Fund immediately began the effort to
     value these Swap positions accurately to enable the Fund to calculate an NAV,
     which effort includes the retention of an independent valuation expert. However,
     Infinity Q and the Fund currently believe that establishing and verifying those
     alternative methods may take several days or weeks. Infinity Q and the Fund are
     also determining whether the fair values calculated for positions other than the
     Swaps are reliable, and the extent of the impact on historical valuations. As a
     result, the Fund was unable to calculate an NAV on February 19, 2021, and it is
     uncertain when the Fund will be able to calculate an NAV that would enable it
     to satisfy requests for redemptions of Fund shares.2

     The Fund and Infinity Q believe that the best course of action for current and
     former shareholders of the Fund is to liquidate the Fund in a reasonable period
     of time, determine the extent and impact of the historical valuation errors, and
     return the maximum amount of proceeds to such shareholders. Relief permitting
     the Fund to suspend redemptions and postpone the date of payment of
     redemption proceeds with respect to redemption orders received but not yet paid
     will permit the Fund to arrive at a valuation for the Swaps and any other portfolio
     holdings for which current and reliable market quotations are not available, and
     to liquidate its holdings in an orderly manner.

     Applicants submit that granting the requested relief would be for the protection
     of the shareholders of the Fund, as provided in Section 22(e)(3) of the 1940 Act.
     Applicants assert that in requesting an order by the Commission, the goal of the
     Board and Infinity Q is to ensure that the Fund’s current and former shareholders
     will be treated appropriately in view of the otherwise detrimental effect on the

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       Fund of Infinity Q’s inability to calculate a fair value for any of the Swaps and
       an accurate NAV for the Fund. The requested relief is intended to permit an
       orderly liquidation of the Fund’s portfolio and ensure that all of the shareholders
       are protected in the process.
                                                                       29.

       30.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Fund’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       31.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased the publicly

traded securities of the Fund during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosure. Excluded from the Class are Defendants herein, the

officers and directors of the Trust and Infinity Q, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       32.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Fund’s securities were actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Defendants and may be notified of the pendency of this

action by mail, using the form of notice similar to that customarily used in securities class actions.




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       33.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       34.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       35.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       (a)     whether Defendants’ acts as alleged violated the federal securities laws;

       (b)     whether Defendants’ statements to the investing public during the Class Period

               misrepresented material facts about the financial condition, business, operations,

               and management of the Fund;

       (c)     whether Defendants’ statements to the investing public during the Class Period

               omitted material facts necessary to make the statements made, in light of the

               circumstances under which they were made, not misleading;

       (d)     whether the Individual Defendants caused the Trust to issue false and misleading

               SEC filings and public statements during the Class Period;

       (e)     whether Defendants acted knowingly or recklessly in issuing false and misleading

               SEC filings and public statements during the Class Period;

       (f)     whether the prices of the Fund’s securities during the Class Period were artificially

               inflated because of the Defendants’ conduct complained of herein; and




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       (g)     whether the members of the Class have sustained damages and, if so, what is the

               proper measure of damages.

       36.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       37.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

       (a)     Defendants made public misrepresentations or failed to disclose material facts

               during the Class Period;

       (b)     the omissions and misrepresentations were material;

       (c)     the Fund’s securities are traded in efficient markets;

       (d)     the Fund’s securities were liquid and traded with moderate to heavy volume during

               the Class Period;

       (e)     the Fund traded on the NASDAQ, and was covered by multiple analysts;

       (f)     the misrepresentations and omissions alleged would tend to induce a reasonable

               investor to misjudge the value of the Fund’s securities; Plaintiff and members of

               the Class purchased and/or sold the Fund’s securities between the time the

               Defendants failed to disclose or misrepresented material facts and the time the true

               facts were disclosed, without knowledge of the omitted or misrepresented facts; and

       (g)     Unexpected material news about the Fund was rapidly reflected in and incorporated

               into the Fund’s share price during the Class Period.



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        38.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        39.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.



                                           COUNT I
                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        40.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        41.     This Count is asserted against the Trust, Infinity Q and the Individual Defendants

and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder by the SEC.

        42.     During the Class Period, the Trust, Infinity Q, and the Individual Defendants,

individually and in concert, directly or indirectly, disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

        43.     The Trust, Infinity Q, and the Individual Defendants violated §10(b) of the 1934

Act and Rule 10b-5 in that they: employed devices, schemes and artifices to defraud; made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading; and/or



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engaged in acts, practices and a course of business that operated as a fraud or deceit upon plaintiff

and others similarly situated in connection with their purchases of the Fund’s securities during the

Class Period.

       44.        The Trust, Infinity Q,and the Individual Defendants acted with scienter in that they

knew that the public documents and statements issued or disseminated in the name of the Trust

were materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated, or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

securities laws. These defendants by virtue of their receipt of information reflecting the true facts

of the Fund, their control over, and/or receipt and/or modification of the Trust’s allegedly

materially misleading statements, and/or their associations with the Fund which made them privy

to confidential proprietary information concerning the Fund, participated in the fraudulent scheme

alleged herein.

       45.        Individual Defendants, who are the senior officers and/or directors, had actual

knowledge of the material omissions and/or the falsity of the material statements set forth above,

and intended to deceive Plaintiff and the other members of the Class, or, in the alternative, acted

with reckless disregard for the truth when they failed to ascertain and disclose the true facts in the

statements made by them or other personnel to members of the investing public, including Plaintiff

and the Class.

       46.        As a result of the foregoing, the market price of the Fund’s securities was artificially

inflated during the Class Period. In ignorance of the falsity of the Trust’s, Infinity Q’s and the

Individual Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of the Fund’s securities during



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the Class Period in purchasing the Fund’s securities at prices that were artificially inflated as a

result of the Trust, Infinity Q, and the Individual Defendants’ false and misleading statements.

          47.   Had Plaintiff and the other members of the Class been aware that the market price

of the Fund’s securities had been artificially and falsely inflated by the Defendants’ misleading

statements and by the material adverse information which the Defendants did not disclose, they

would not have purchased the Fund’s securities at the artificially inflated prices that they did, or

at all.

          48.   As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

          49.   By reason of the foregoing, the Trust, Infinity Q, and the Individual Defendants

have violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable

to the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of the Fund’s securities during the Class Period.

                                            COUNT II
                         Violation of Section 20(a) of The Exchange Act
                               Against The Individual Defendants

          50.   Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          51.   During the Class Period, the Individual Defendants participated in the operation

and management of the Trust and Infinity Q, and conducted and participated, directly and

indirectly, in the conduct of the Trust and Infinity Q’s business affairs. Because of their senior

positions, they knew the adverse non-public information regarding the Trust and Infinity Q’s

business practices.




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       52.     As officers and/or directors, the Individual Defendants had a duty to disseminate

accurate and truthful information with respect to the Fund’s financial condition and results of

operations, and to correct promptly any public statements issued by the Trust or Infinity Q which

had become materially false or misleading.

       53.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which the Trust and Infinity Q disseminated in the marketplace during the Class

Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause the Trust and Infinity Q to engage in the wrongful acts complained of herein.

The Individual Defendants therefore, were “controlling persons” of the Trust and Infinity Q within

the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in the

unlawful conduct alleged which artificially inflated the market price of the Fund’s securities.

       54.     Each of the Individual Defendants, therefore, acted as a controlling person of the

Trust and Infinity Q. By reason of their senior management positions and/or being directors of the

Trust and Infinity Q, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, the Trust and Infinity Q to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of the Trust and Infinity Q and possessed the power to control the specific activities

which comprise the primary violations about which Plaintiff and the other members of the Class

complain.

       55.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Trust and Infinity Q.

                                    PRAYER FOR RELIEF



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       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.



Dated: February 26, 2021                       Respectfully submitted,

                                               THE ROSEN LAW FIRM, P.A.

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